
720 S.E.2d 667 (2012)
STATE of North Carolina
v.
Tyson Javon LaSALLE.
No. 510P11.
Supreme Court of North Carolina.
January 26, 2012.
Elizabeth N. Strickland, Special Deputy Attorney General, for State of North Carolina.
Tyson Javon LaSalle, for LaSalle, Tyson Javon.
Rick Shaffer, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 22nd of November 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
